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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


GOVERNOR GREG ABBOTT, in his official
capacity as Governor of the State of
Texas,

       and
                                                     No. 6:22-cv-3-JCB
GOVERNOR MIKE DUNLEAVY, in his official
capacity as Governor of the State of
Alaska,
       Plaintiffs,

       v.

JOSEPH R. BIDEN, in his official capacity as
President of the United States, et al.,
       Defendants.




       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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     “The saying that generals always fight the last war is familiar,” Al-Bihani v. Obama, 590 F.3d

866, 882 (D.C. Cir. 2010) (Brown, J., concurring), and the Defendants have proven that saying

true by pretending like this case presents the same claims as were rejected in Oklahoma v. Biden,

No. 5:21-cv-1136, 2021 WL 6126230 (W.D. Okla. Dec. 28, 2021). Governor Abbott and Governor

Dunleavy parsed the relevant constitutional text to argue that “[t]he Second Militia Clause leaves

the ‘governing’ to the Governor until his Guardsmen are lawfully federalized.” Abbott Br. at 2

(quoting U.S. Const. art. I, § 8, cl. 16). The opinion out of Oklahoma said nothing about this novel

governing argument—and neither do the Defendants in their response. No matter what they might
now say in a forthcoming sur-reply, the Defendants cannot undo this crucial forfeiture at the

preliminary-injunction stage. See, e.g., Liberty Mut. Fire Ins. Co. v. Fowlkes Plumbing, L.L.C., 850

F. App’x 213, 217 (5th Cir. 2021) (per curiam) (“[A] new argument cannot be raised for the first

time in a reply brief, let alone a sur-reply.”).

     The Defendants make no argument that they have lawfully federalized the Texas or Alaska

National Guards, and they do not contend that the President wields any commander-in-chief

power over Governor Abbott or Governor Dunleavy. Instead, the Defendants ignore the text of

the U.S. Constitution and ask the Court to eviscerate gubernatorial command of non-federalized

Guardsmen. The modern militias are, and must remain, under the State’s control unless and until
its Guardsmen are lawfully federalized by the President himself. Under the guise of public health

and military readiness, the Defendants would have this Court render that control meaningless. The

Court should reject that invitation and grant the Plaintiffs’ preliminary injunction.

I.   The Plaintiffs Are Likely to Succeed on the Merits.

     The Defendants proceed from the premise that the Plaintiffs challenge the mere imposition,

pursuant to 32 U.S.C. § 110, of an additional readiness requirement. See Opp. at 7; cf. Oklahoma,

2021 WL 6126230, at *7. But the Plaintiffs expressly disclaimed any such contention. See Abbott

Br. at 8–9. The Plaintiffs’ governing argument in this Court was derived from their close reading of

the Second Militia Clause’s text and context. See, e.g., id. at 3–4, 7–8, 11–12. Yet the Defendants


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do not bother to submit a competing interpretation of the word “governing” in their response,

which makes just two passing references to that concept. See Opp. at 8 (quoting U.S. Const. art. I,

§ 8, cl. 16 and 32 U.S.C. § 110). By the time they file a sur-reply, though, it will be too late for the

Defendants to rebut the Plaintiffs’ central argument for likely success on the merits. Nor can the

Defendants belatedly explain away the federal government’s long-held position, expressed in

decades’ worth of briefs, that it is powerless to command the actual operations of a State’s militia

through direct punishment of non-federalized Guardsmen. See Abbott Br. at 13 (collecting

concessions in briefs dating back to 1965).
    At most, the Defendants can use their sur-reply to defend against a new officering argument

that their response has provoked. See, e.g., Hanson Pipe & Prods., Inc. v. Bridge Techs., LLC, 351 F.

Supp. 2d 603, 614 (E.D. Tex. 2004) (explaining that a sur-reply is “appropriate” for countering

new arguments in a reply). The Second Militia Clause “reserv[es] to the States respectively, the

Appointment of the Officers.” U.S. Const. art. I, § 8, cl. 16; see also The Federalist No. 29

(Alexander Hamilton). The Defendants threaten to violate this federalism guarantee through the

eventual withdrawal of federal recognition from Texas’s and Alaska’s officers, see Opp. at 10 n.1,

17, which will yield their automatic discharge from the Texas and Alaska National Guards under

32 U.S.C. § 324(a)(2). Commentators have long questioned the constitutionality of this statutory
provision. See, e.g., Frederick Bernays Wiener, The Militia Clause of the Constitution, 54 Harv. L.

Rev. 181, 201, 211–12 (1940). Surprisingly enough, the Defendants have now turned a veiled threat

from the Enforcement Memoranda into a proud boast. Cf. Mot. for Prelim. Inj. Exh. 10.

    The Defendants further attempt to defend their Enforcement Memoranda by misconstruing

state law. See Opp. at 11-12 (invoking Tex. Gov’t Code ch. 437 as against members of the Texas

National Guard who are already enlisted or appointed). But they ignore Governor Abbott’s

Executive Order GA-39, which provides with the force and effect of state law that every non-




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federalized Guardsman in Texas is prohibited, by an order from his commander-in-chief, from

compelling any individual to receive a COVID-19 vaccine. See Mot. for Prelim. Inj. Exh. 2. 1

II.   Texas and Alaska Are Suffering Irreparable Injury.

      Governor Abbott and Governor Dunleavy are each suffering an injury to their authority,

granted to them by the voters and the constitutions of their respective States, to serve as the

commander-in-chief in Texas and Alaska, respectively. And with respect to the individual

Guardsmen under Governor Abbott’s and Governor Dunleavy’s commands, they too suffer an

irreparable injury when they are “put to a choice between their job(s) and their jab(s).” BST

Holdings, LLC v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021). Similarly, Governor Abbott and

Governor Dunleavy cannot protect the religious freedoms of their Guardsmen, and Guardsmen

themselves risk having their religious beliefs ignored. See, e.g., U.S. Navy Seals 1-26 v. Biden, --

F.4th --, 2022 WL 594375 (5th. Cir. Feb. 28, 2022) (describing systematic denial of religious

exemptions within the Navy pursuant to President Biden’s vaccine mandate). Moreover,

“[w]ithout a clear and effective chain of command, the public cannot ‘determine on whom the

blame or the punishment of a pernicious measure, or series of pernicious measures ought really to

fall.’” Free Enterprise Fund v. PCAOB, 561 U.S. 477, 498 (2010) (quoting The Federalist No. 70

(Alexander Hamilton)). Accordingly, the constitutional violations at issue here necessarily involve

harm that cannot be remedied.




1 See also Governor Dunleavy’s Admin. Order 325 (recognizing that imposing vaccine mandates on

National Guard members without adequate protections in place for individuals with religious
objections jeopardizes the constitutional rights of individual Alaskans and directing, among other
things, that no state agency participate with a federal agency, or spend state funds to participate in,
or further any action by a federal agency that infringes on the constitutional rights of Alaskans);
2021 Alaska Sess. Laws ch. 2, § 17 (protecting all Alaskans’ rights to object to COVID-19 vaccines
“based on religious, medical, or other grounds” and prohibiting requirements that an individual
provide justification or documentation to support the individual’s decision to decline a COVID-19
vaccine).

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    The Enforcement Memoranda also have real-world impact. The Defendants dismiss out of

hand the effect that a loss of significant numbers of Guardsmen would have in Texas. They

conclude that these losses are merely speculative and that the potential reductions in force are

“less than average annual attrition” or “months away.” Opp. at 18. It is true that the precise

number of Guardsmen who will leave service as a result of the Enforcement Memoranda is not

known, but the evidence submitted by Texas demonstrates that any additional losses above normal

attrition will, at a minimum, result in at least a temporary reduction in readiness that could only be

overcome through significant efforts in additional recruiting. See, e.g., Decl. of Maj. Gen. Norris
(ECF No. 25-7). And it is no solution to put Guardsmen on a state-funded status. Many

Guardsmen want the pride, training, and benefits of serving their country. Governor Abbott and

Governor Dunleavy can retain these Guardsmen while still meeting Texas’s and Alaska’s federal

military commitments, but not if they are forced to obey the Enforcement Memoranda and govern

their troops in a manner dictated by federal policymakers.

    In any event, the harm inflicted by the Enforcement Memoranda on each of the Plaintiffs is a

legal harm to his authority as commander-in-chief. It does not require evidence of the vaccine

requirement’s impact on the Guard, and Alaska is similarly situated to Texas for that reason. See

generally Maryland v. King, 567 U.S. 1301, 1303 (2012); Org. for Black Struggle v. Ashcroft, 978 F.3d
603, 609 (8th Cir. 2020) (“Prohibiting the State from enforcing a statute properly passed . . . would

irreparably harm the State.”); State v. Nelson, No. 8:21-cv-2524, 2021 WL 6108948, at *14-15

(M.D. Fla. Dec. 22, 2021) (finding substantial likelihood of irreparable harm to Florida’s sovereign

interest absent a stay of the federal contractor vaccine requirement); Texas v. Becerra, No. 5:21-cv-

300, 2021 WL 6198109 (N.D. Tex. Dec. 31, 2021) (enjoining Head Start vaccine requirement

finding injury to state’s sovereign interest is “necessarily” irreparable because the “clear effect of

the Rule is to inhibit Texas’s sovereign policy-making and, importantly, enforcement powers”).

Moreover, injunctions blocking other vaccine requirements have extended to all of the States that

were plaintiffs in the litigation, even when certain States failed to provide evidence of irreparable

harm. See, e.g., Missouri v. Biden, No. 4:21-cv-1300, 2021 WL 5998204 (E.D. Mo. Dec. 20, 2021)

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(injunction blocking federal contractor vaccine requirement covered Arkansas, Montana, and

South Dakota, despite the fact that they submitted no evidence in support of the motion).

    Contrast these imminent harms with the speculative effects on readiness of COVID-19, and it

is clear that the Defendants’ justifications for this unconstitutional mandate are severely lacking.

The Defendants’ own evidence shows that COVID-19 among active-duty service members results

in astonishingly few hospitalizations or deaths. See, e.g., Decl. of Col. Rans at 11-13, ¶ 11 (table and

figure) (ECF No. 33-4). Guardsmen in Texas and Alaska have been at the front lines of the COVID-

19 pandemic since the beginning, and they know better than anyone how to protect themselves
against this disease. More important, Governor Abbott and Governor Dunleavy know best how to

ready their forces to meet any challenge. And unlike the Defendants, Governor Abbott and

Governor Dunleavy have taken into account the immediate impact of departures in significant

numbers by those Guardsmen who choose not to get vaccinated, rather than simply focusing on a

dogmatic view of mandatory vaccination. Guardsmen should not be put to a choice between

conscience and career, and certainly not by a President who is not their commander-in-chief.

    The Defendants further contend that the Plaintiffs’ delay in seeking a preliminary injunction

undermines the argument that the Defendants are inflicting irreparable harm. This argument is

premised on the suggestion that the full extent of the Defendants’ vaccine mandate has been
known since August 24, 2021. See Opp. at 28. But this suggestion is simply false. Although an initial

announcement may have occurred in August 2021, the Defendants themselves admit it was not

until November 30, 2021 that they made clear they are purporting to extend the COVID-19 vaccine

mandate to non-federalized Guardsmen who are not in their chain of command. See Decl. of Col.

Mulcahy ¶ 10 (ECF No. 33-1). The Air Force did not issue its “specific regulatory guidance” until

December 7, 2021. Id. ¶ 11. And the Army issued guidance on January 27, 2022—after the Original

Complaint was filed in this matter. Id. ¶¶ 15-16 & Ex. B. It was not until January 27, 2022 that

Secretary Austin even responded to Governor Abbott’s letter condemning the purported COVID-

19 vaccine mandate. See Mot. for Prelim. Injunction Ex. 10 (ECF No. 25-10). Governor Abbott

sought a preliminary injunction less than two weeks later. Accordingly, any delay in bringing this

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request for a preliminary injunction is attributable not to the Plaintiffs sleeping on their rights, but

to the Defendants’ disorganized implementation and delayed issuance of the Enforcement

Memoranda.

       The Plaintiffs acted with all appropriate diligence in seeking a preliminary injunction, and the

Defendants cannot rely on their own moving goalposts to undermine their request. The cases

which establish that delay can undermine a preliminary injunction motion require both an

insufficient explanation and a “substantial period of delay.” See, e.g., GoNannies, Inc. v. GoAuPair,

Inc., 464 F. Supp. 2d 603, 609 (N.D. Tex. 2006). Here, however, the explanation is the
Defendants’ own conduct, through their confusing web of Enforcement Memoranda and dilatory

tactics in issuing specific guidance or responding to Governor Abbott’s letter. And the period of

delay, if any, is on the order of weeks, not months. Cf. Weight Watchers Int’l v. Lugino’s, Inc., 423

F.3d 137, 145 (2d Cir. 2005) (noting that delays of four, five, and seven months have been

acceptable). Accordingly, the Court should give no weight to Defendants’ argument regarding

delay.

III.   The Remaining Factors Weigh in Favor of the Plaintiffs.

       The Defendants’ arguments on the remaining factors are again skewed by their

misunderstanding of the Plaintiffs’ claims. The Plaintiffs do not contest that President Biden could

impose a vaccine requirement on federalized troops and do not argue that President Biden is

without recourse if Governor Abbott and Governor Dunleavy do not follow the Enforcement

Memoranda. But the Defendants cannot unconstitutionally usurp the lawful chain of command

within each State’s military forces simply because it is more convenient for them to do so. If

President Biden wants to subject the Texas National Guard to a federal vaccine mandate, he cannot

hide behind Secretary Austin or commandeer Governor Abbott. President Biden must own his

decision, with all the accompanying political and pecuniary costs, by federalizing the Texas

National Guard or by defunding it “as the President may prescribe.” 32 U.S.C. § 108. He has not




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done so, and therefore he cannot inflict the specific and detailed punishments that the Enforcement

Memoranda provide.

    When the Plaintiffs’ claims are properly understood, it is clear that a preliminary injunction is

in the public interest. The Defendants would have this Court ride roughshod over the “particular

balance” that “the Framers expressly struck” “between federal interests and state autonomy in

the military context.” Evan H. Caminker, State Sovereignty and Subordinacy: May Congress

Commandeer State Officers to Implement Federal Law?, 95 Colum. L. Rev. 1001, 1032 n.120 (1995)

(cleaned up). President Biden would no doubt prefer it if Guardsmen wore only one “hat” rather
than several and were accountable only to him. Perpich v. Dept. of Defense, 496 U.S. 334, 348 (1990).

All the moreso if he could act by commandeering state governors and having them do the work of

administering his policies in accordance with his wishes. But state Guards are “a hybrid state-

federal organization, for the Governor remains in charge of the National Guard in each state except

when the Guard is called into active federal service.” Holdiness v. Stroud, 808 F.2d 417, 421 (5th

Cir. 1987).

    An injunction here would not disserve the public interest or wade into military matters that

are unsuitable for court involvement. Cf. U.S. Navy Seals 1-26, 2022 WL 594375 at *8-*10 (5th.

Cir. Feb. 28, 2022) (discussing Mindes v. Seamen, 453 F.2d 197 (1971)). 2 Rather, an injunction

preserving gubernatorial command until Guardsmen are federalized merely preserves the status

quo, so that challenged regulations cannot be enforced (with irreversible consequences) pending

judicial review. Cf. Texas v. United States, 787 F.3d 733, 768 (5th Cir. 2015). Additionally, “the


2 Each of the Mindes factors is satisfied here, to the extent that they are applicable. Plaintiffs allege
that the Enforcement Memoranda violate the U.S. Constitution and federal law. No intra-service
corrective measures are available. And the four factors all weigh in Plaintiffs’ favor: (1) Plaintiffs
bring a primarily legal challenge based on clear text; (2) gubernatorial control of state military
forces may be forever diminished absent judicial review; (3) no interference with military function
is needed, as President Biden has existing avenues available to him to achieve vaccine uptake
among military forces; and (4) the legal control of the military, not the exercise of military
judgment and discretion, is at issue. Accordingly, this matter is justiciable.

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public interest [is] in having governmental agencies abide by the federal laws that govern their

existence and operations.” See Texas v. Biden, 10 F.4th 538, 559 (5th Cir. 2021) (internal quotation

marks omitted). Allowing the Defendants to denude gubernatorial command over non-federalized

Guardsmen is contrary to both the U.S. Constitution and federal law, and they should be enjoined.

                                          CONCLUSION

    The Plaintiffs respectfully request that the Court grant the motion for preliminary injunction

and enjoin the Defendants from applying or enforcing the Enforcement Memoranda as to non-

federalized Guardsmen.




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 Date: March 21, 2022.                         Respectfully submitted.

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                                   CERTIFICATE OF SERVICE


       I certify that on March 21, 2022, this document was filed through the Court’s CM/ECF

system, which automatically serves all counsel of record.




                                             /s/ Christopher D. Hilton




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